           Case 5:19-cr-00046-BLF Document 105 Filed 07/21/21 Page 1 of 2




 1   David Plotsky,                                         )
 2   State Bar No. 251174                                   )
 3   Plotsky and Dougherty, PC                              )
 4   122 Girard, S.E.                                       )
 5   Albuquerque, New Mexico, 87106                         )
 6   505-268-0095 (fax) 505-266-9585                        )
 7   plotskylaw@gmail.com                                   )
 8   Attorney for Defendant, Yvonne Lattimore               )
 9
10                              UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN JOSE DIVISION

13   UNITED STATES OF AMERICA                               ) NO. CR 19-00046 BLF
14                                                          )
15                           Plaintiff,                     )
16                                                          )
17   vs.                                                    )
18                                                          )
19   YVONNE LATTIMORE                                       )
20                                                          )
21                           Defendant.                     ) DECLARATION OF DAVID L.
22                                                          ) PLOTSKY IN SUPPORT OF
23                                                          ) EX PARTE MOTION FOR
24                                                          ) RELEASE OF FILES
25                                                          )
26   ____________________________                           )
27
28
29   I, David L. Plotsky, declare:

30           1.       I am a duly licensed attorney admitted to practice in the Courts of the State

31   of California.

32           2.       I have been appointed by this Court to represent the Defendant, Yvonne

33   Lattimore.

34           3.       In order to competently represent the Defendant, I believe I need, and

35   therefore I am requesting herein that the Court order the Federal Public Defender’s office

36   to release to me its’ complete file, including, but not limited to, all investigative work and

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          Case 5:19-cr-00046-BLF Document 105 Filed 07/21/21 Page 2 of 2




 1   all documents obtained, whether through discovery, investigation, or from the client, as

 2   well as all electronic data, including the Case Map 13 case file, regarding my client,

 3   Yvonne Lattimore.

 4          4.      I understand that while the Federal Public Defender’s Office of the

 5   Northern District of California has provided its’ file to the Defendants’ previous counsel,

 6   Bruce Funk, Esq., I have been advised certain documents were inadvertently not provided

 7   to Mr. Funk; and therefore, as a matter of thoroughness and to ensure I have everything

 8   pertaining to this matter from the Public Defenders’ Office, I am making this request.

 9          I declare as an officer of this Court, the events set forth herein are true and correct

10   to the best of my knowledge.

11   Dated: July 21, 2021

12
13                                                 Respectfully Submitted,
14
15                                                 /s/ David L. Plotsky
16                                                 David L. Plotsky
17                                                 plotskylaw@gmail.com
18                                                 PLOTSKY & DOUGHERTY, P.C
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